 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 1 of 7 PageID #: 103




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                    Plaintiff,

               v.                                      Criminal Action No. 1:05CR27-4


JOHN BELL,

                    Defendant.


                                 REPORT AND RECOMMENDATION

       On the 1st day of August, 2005, came the United States of America and Thomas Johnston,

United States Attorney for the Northern District of West Virginia, by Zelda E. Wesley, Assistant

United States Attorney, and also came the Defendant in person and by his attorney, Brian J.

Kornbrath.

       Counsel for the government advised the Court that the agreement to plead guilty in this case

had been reduced to a written plea agreement which the Court had counsel for the Government

summarize for the Court in the presence of Defendant. Counsel for Defendant then stated that the

summarization of the written plea agreement was correct.

       Thereupon, the Court proceeded with the Rule 11 proceeding by first placing Defendant

under oath, and thereafter inquiring of Defendant’s counsel as to Defendant’s understanding of his

right to have an Article III Judge hear his plea and his willingness to waive that right, and instead

have a Magistrate Judge hear his plea. Thereupon, the Court inquired of Defendant concerning his

understanding of his right to have an Article III Judge hear the entry of his guilty plea and his

understanding of the difference between an Article III Judge and a Magistrate Judge. Defendant
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 2 of 7 PageID #: 104




thereafter stated in open court that he voluntarily waived his right to have an Article III Judge hear

his plea and voluntarily consented to the undersigned Magistrate Judge hearing his plea, and

tendered to the Court a written Waiver of Article III Judge and Consent To Enter Guilty Plea Before

Magistrate Judge, which waiver and consent was signed by Defendant and countersigned by

Defendant’s counsel and was concurred in by the signature of the Assistant United States Attorney

appearing.

       Upon consideration of the sworn testimony of Defendant, as well as the representations of

his counsel and the representations of the Government, the Court finds that the oral and written

waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

voluntarily given and the written waiver and consent was freely and voluntarily executed by

Defendant, John Bell, only after having had his rights fully explained to him and having a full

understanding of those rights through consultation with his counsel, as well as through questioning

by the Court.

       The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

Magistrate Judge filed and made part of the record.

       The undersigned then inquired of Defendant regarding his understanding of the written plea

agreement. Defendant stated he understood the terms of the written plea agreement and also stated

that it contained the whole of his agreement with the Government and no promises or representations

were made to him by the Government other than those terms contained in the written plea

agreement.

       The undersigned then reviewed with Defendant Count Three of the Indictment, the statutory

penalties applicable to an individual adjudicated guilty of the felony charge contained in Count



                                                  2
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 3 of 7 PageID #: 105




Three of the Indictment, the impact of the sentencing guidelines on sentencing in general, and

inquired of Defendant as to his competency to proceed with the plea hearing. From said review the

undersigned Magistrate Judge determined Defendant understood the nature of the charge pending

against him and understood the possible statutory maximum sentence which could be imposed upon

his conviction or adjudication of guilty on that charge was imprisonment for a period of not more

than twenty (20) years; understood the maximum fine that could be imposed was $1,000,000.00;

understood that both fine and imprisonment could be imposed; understood he would be subject to

a period of at least three (3) years of supervised release; and understood the Court would impose a

special assessment of $100.00 for the felony conviction payable on or before the date of sentencing.

He also understood he might be required by the Court to pay the costs of his incarceration and

supervised release.

       Defendant also understood that his actual sentence could not be calculated until after a pre-

sentence report was prepared and a sentencing hearing conducted.

       The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

and voluntary execution of the written plea bargain agreement signed and dated by him on June 28,

2005, and determined the entry into said written plea bargain agreement was both knowledgeable

and voluntary on the part of Defendant.

       The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

Government as to the non-binding recommendations contained in the written plea bargain

agreement and determined that Defendant understood, with respect to the plea bargain agreement

and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Three of the

Indictment, the undersigned Magistrate Judge would write the subject Report and Recommendation



                                                 3
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 4 of 7 PageID #: 106




and tender the same to the District Court Judge, and the undersigned would further order a pre-

sentence investigation report be prepared by the probation officer attending the District Court, and

only after the District Court had an opportunity to review the subject Report and Recommendation,

as well as the pre-sentence investigation report, would the District Court make a determination as

to whether to accept or reject Defendant’s plea of guilty or any recommendation contained within

the plea agreement or pre-sentence report.

       The undersigned Magistrate Judge further addressed the stipulation contained in the written

plea bargain agreement, which provides:

       Pursuant to Sections 6B1.4 and 1B1.3 of the Guidelines, the parties hereby stipulate,
       and agree that the total relevant conduct of the defendant is between 3 to 4 grams of
       cocaine base.

The undersigned then advised Defendant, counsel for Defendant, and counsel for the United States,

and determined that the same understood that the Court is not bound by the above stipulation and

is not required to accept the above stipulation, and that should the Court not accept the above

stipulation, Defendant would not have the right to withdraw his plea of Guilty to Count Three of the

Indictment.

       The undersigned Magistrate Judge further advised Defendant, in accord with Federal Rule

of Criminal Procedure 11, in the event the District Court Judge rejected Defendant’s plea of guilty,

Defendant would be permitted to withdraw his plea and proceed to trial. However, Defendant was

further advised if the District Court Judge accepted his plea of guilty to the felony charge contained

in Count Three of the Indictment, Defendant would not be permitted to withdraw his guilty plea

even if the Judge refused to follow the non-binding recommendations and stipulation contained in

the written plea agreement and/or sentenced him to a sentence which was different from that which



                                                  4
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 5 of 7 PageID #: 107




he expected. Defendant and his counsel each acknowledged their understanding and Defendant

maintained his desire to have his plea of guilty accepted.

       The undersigned Magistrate Judge further examined Defendant with regard to his

understanding of the impact of his conditional waiver of his direct and collateral appeal rights as

contained in the written plea agreement, and determined he understood those rights and voluntarily

gave them up under the conditions set as part of the written plea agreement.

       The undersigned Magistrate Judge further cautioned and examined Defendant under oath

concerning all matters mentioned in Rule 11.

       The undersigned then reviewed with Defendant Count Three of the Indictment, including the

elements the United States would have to prove at trial, charging him with aiding and abetting in the

distribution of crack cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C), and Title 18, United States Code, Section 2.

       The Court then received the sworn testimony of West Virginia State Police Sgt. Joe Adams

and Defendant’s under-oath allocution to or statement of why he believed he was guilty of the

charge contained in Count Three of the Indictment. Sgt. Adams testified he was involved in an

investigation concerning Defendant. On November 19, 2004, he used a confidential informant

(“CI”) to make a controlled buy of crack cocaine from Defendant. The CI telephoned Defendant’s

residence and spoke to co-defendant Shasta Bell about purchasing crack cocaine. The CI and an

undercover police officer then went to Defendant’s residence. Defendant was there with two other

co-defendants. Defendant gave the CI crack cocaine, and the CI gave Defendant $200.00 in marked

“controlled buy” money provided him by the police. The marked money was later recovered from




                                                 5
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 6 of 7 PageID #: 108




one of Defendant’s co-defendants. The drugs were tested at the West Virginia State Police

Laboratory where they were confirmed to be .68 grams of crack cocaine.

        The defendant then testified he believed he was guilty of the crime charged in Count Three

of the Indictment because a man came to his house to buy crack cocaine. He was there with other

co-defendants. The co-defendants handed Defendant the crack cocaine and Defendant handed it to

the CI. The CI handed $200.00 in marked “controlled buy” money provided by the police to

Defendant. Defendant then handed the money to co-defendants.

       From the testimony of Sgt. Adams , the undersigned Magistrate Judge concludes the offense

charged in Count Three of the Indictment is supported by an independent basis in fact concerning

each of the essential elements of such offense. This conclusion is supported by Defendant’s

allocution.

       Thereupon, Defendant, John Bell, with the consent of his counsel, Brian J. Kornbrath,

proceeded to enter a verbal plea of GUILTY to the felony charge contained in Count Three of the

Indictment.

       Upon consideration of all of the above, the undersigned Magistrate Judge finds that

Defendant’s guilty plea is knowledgeable and voluntary as to the charge contained in Count Three

of the Indictment.

       The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to the

felony charge contained Count Three of the Indictment herein be accepted conditioned upon the

Court’s receipt and review of this Report and Recommendation and a Pre-Sentence Investigation

Report, and that the Defendant be adjudged guilty on said charge as contained in Count Three of the

Indictment and have sentence imposed accordingly.



                                                6
 Case 1:05-cr-00027-IMK Document 52 Filed 08/02/05 Page 7 of 7 PageID #: 109




       The undersigned further directs that a pre-sentence investigation report be prepared by the

adult probation officer assigned to this case.

       Any party may, within ten (10) days after being served with a copy of this Report and

Recommendation, file with the Clerk of the Court written objections identifying the portions of the

Report and Recommendation to which objection is made, and the basis for such objection. A copy

of such objections should also be submitted to the Honorable Irene M. Keeley, Chief United States

District Judge. Failure to timely file objections to the Report and Recommendation set forth above

will result in waiver of the right to appeal from a judgment of this Court based upon such report and

recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

474 U.S. 140 (1985).

       The undersigned further ORDERS that Defendant’s release on bond be continued pursuant

to the Order Setting Conditions of Release entered in this matter on May 19, 2005.

       The Clerk of the Court is directed to mail an authenticated copy of this Report and

Recommendation to counsel of record.



       Respectfully submitted this 1st day of August, 2005.

                                     /s John S. Kaull
                                      JOHN S. KAULL
                                      UNITED STATES MAGISTRATE JUDGE




                                                 7
